






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                        





NO. 3-92-288-CV





AMERITRUST TEXAS, NATIONAL ASSOCIATION,



	APPELLANT


vs.





BANK ONE, TEXAS, NATIONAL ASSOCIATION,



	APPELLEE



                        




FROM THE PROBATE COURT NO. 1 OF TRAVIS COUNTY



NO. 59,204, HONORABLE GUY HERMAN, JUDGE PRESIDING



                        




PER CURIAM

	The parties have filed an agreed motion for judgment.  The motion is granted. 
Tex. R. App. P. 59(a).

	The judgment of the trial court is reversed and judgment rendered for Ameritrust
Texas, National Association, in accordance with the settlement agreement of the parties.


Before Justices Powers, Jones and Kidd

Reversed and Rendered on Agreed Motion for Judgment

Filed:  December 8, 1993

Do Not Publish


